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 1
     Kevin Mahoney, Esq. (SBN: 235367)
     kmahoney@mahoney-law.net
 2   MAHONEY LAW GROUP, APC
 3
     249 E. Ocean Blvd., Ste. 814
     Long Beach, CA 90802
 4   Telephone: (562) 590-5550
 5
     Facsimile: (562) 590-8400

 6   Attorneys for Plaintiffs JOSE BERMEJO as individuals and on behalf of all
 7
     similarly situated employees

 8
                         UNITES STATES DISTRICT COURT

 9
                       CENTRAL DISTRICT OF CALIFORNIA

10

11   JOSE BERMEJO,                          Case No.: 2:20-CV-5337
12
                       Plaintiff,            CLASS ACTION
13
           v.                                FIRST AMENDED COMPLAINT
14
                                             FOR DAMAGES, INJUNCTIVE
15   LABORATORY CORPORATION OF               RELIEF AND RESTITUTION
     AMERICA, DBA LABCORP and
16
     DOES 1 through 50, inclusive,            1. Failure to Pay All Wages;
17                                            2. Failure to Provide Meal Periods;
                       Defendant.             3. Failure to Provide Rest Periods;
18
                                              4. Failure to Keep Accurate Payroll
19                                               Records;
                                              5. Failure to Pay Wages Upon Ending
20
                                                 Employment;
21                                            6. Failure to Indemnify for
                                                 Expenditures;
22
                                              7. Unfair Competition (Business and
23                                               Professions Code § 17200 et seq.)
24

25                                           DEMAND FOR JURY TRIAL
26

27

28


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1           Plaintiff JOSE BERMEJO (“Bermejo” or “Plaintiff”) on behalf of himself
2     and all others similarly situated, complains and alleges as follows:
3                                     INTRODUCTION
4           1.     This is a class action brought on behalf of Plaintiff and the class he
5     seeks to represent (“Plaintiff Class”), as defined herein, as all non-exempt
6     employees, employed by or formerly employed by, Defendant LABORATORY
7     CORPORATION OF AMERICA, (“LABCORP” or “Defendant”) in the positions
8     of service rep-carrier, and related positions in the state of California from February
9     25, 2016, until judgment in this matter.
10          2.     Plaintiff individually and on behalf of the class he seeks to represent,
11    seek relief against LABCORP for the failure to pay all wages due in violation of
12    Labor Code sections 510 and 1194, including, both regular and overtime wages; the
13    failure to pay wages of terminated or resigned employees pursuant to Labor Code
14    sections 201, 202, 203; the failure to provide meal and rest periods or compensation
15    in lieu thereof pursuant to Labor Code sections 226.7, 512; the failure to reimburse
16    for necessary business expenditures pursuant to Labor Code section 2802; the
17    failure to provide accurate itemized wage statements upon payment of wages
18    pursuant to Labor Code sections 226, subdivision (a), 1174, 1175, and applicable
19    IWC Wage Orders. Plaintiff further seeks equitable remedies in the form of
20    declaratory relief and injunctive relief, and relief under the Business and
21    Professions Code section 17200 et seq. for unfair business practices.
22          3.     The “Class Period” is defined as the four (4) years prior to the filing of
23    the original complaint through the date final judgment is entered. Plaintiff reserves
24    the right to amend this complaint to reflect a different “Class Period” as further
25    discovery is conducted.
26          4.     At all relevant times herein, LABCORP and each Defendant, have
27    consistently maintained and enforced against Plaintiff and Plaintiff Class the
28    following unlawful practices and policies: a) willfully refusing to pay Plaintiff and

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1     Plaintiff Class for all hours worked, including, both regular and overtime; b)
2     willfully refusing to permit Plaintiff and Plaintiff Class from taking meal and/or rest
3     periods or compensation in lieu thereof; c) willfully refusing to compensate Plaintiff
4     and certain members of the Plaintiff Class wages due and owing at the time
5     Plaintiff’s and Plaintiff Class’ employment with Defendants ended; d) willfully
6     refusing to furnish to Plaintiff and Plaintiff Class accurate itemized wage statements
7     upon payment of wages, and (e) willfully refusing to reimburse Plaintiff and
8     Plaintiff Class members for business expenses.
9                              JURISDICTION AND VENUE
10          5.     This Court has supplemental jurisdiction over the California state law
11    claims because they are so related to this action that they form part of the same case
12    or controversy under Article III of the United States Constitution.
13          6.     Venue is proper in Superior Court of California.
14                                      THE PARTIES
15          The Plaintiff
16          7.     Bermejo at various relevant times herein, was an employee of the
17    Defendant and entitled to compensation for all hours worked, overtime
18    compensation, and penalties from Defendant. Bermejo was initially hired by
19    Defendant on or about 2004 in the position of service rep-carrier. At all times during
20    Plaintiff’s employment he qualified as non-exempt employee entitled to applicable
21    meal and rest breaks, as well as overtime per the Labor Code. Each of the Plaintiff
22    Class members are identifiable, current and/or formerly similarly situated persons
23    who were employed in non-exempt positions as including, but not limited to,
24    service rep-carrier, and related positions in California for the Defendant during the
25    Class Period.
26          The Defendant
27          8.     Plaintiff is informed and believe, and based thereon allege that,
28    LABORATORY CORPORATION OF AMERICA dba “LABCORP” is a

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1     Delaware Corporation, and is and/or was the employer of the Plaintiff and Plaintiff
2     Class during the Class Period. During the liability period, Defendant employed
3     Plaintiff and similarly situated persons, and failed to pay Plaintiffs and Plaintiff
4     Class for all hours worked as a result of working off the clock, overtime premium
5     for overtime hours worked, failed to provide meal periods or pay a meal period
6     penalty in lieu of, failed to provide rest periods or pay a rest period penalty in lieu
7     of , failed to reimburse for business expenses and failed to pay due and owing wages
8     upon ending of employment for employees within California. On information and
9     belief, and based thereon alleges that Defendant is conducting business in good
10    standing in California.
11          9.     Plaintiff is ignorant of the true names, capacities, relationships and
12    extent of participation in the conduct herein alleged, of the Defendant sued herein
13    as DOES 1 through 50, inclusive, but on information and belief allege that said
14    Defendant is legally responsible for the payment of overtime compensation, rest
15    and meal period compensation, business expenses reimbursement and/or Labor
16    Code section 203 penalties to the Plaintiff Class members by virtue of their unlawful
17    practices, and therefore sue these Defendants by such fictitious names. Plaintiff will
18    amend this complaint to allege the true names and capacities of the DOE Defendants
19    when ascertained.
20          10.    Plaintiff is informed and believes and based thereon allege, that each
21    Defendant acted in all respects pertinent to this action as the agent of the other
22    Defendant, carried out a joint scheme, business plan or policy in all respects
23    pertinent hereto, and the acts of each Defendant legally attributable to the other
24    Defendant.
25                               GENERAL ALLEGATIONS
26          11.    Labor Code section 1194 provides that notwithstanding any agreement
27    to work for a lesser wage, an employee receiving less than the legal overtime
28    compensation is entitled to recover in a civil action the unpaid balance of their

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1     overtime compensation, including, interest thereon, reasonable attorneys’ fees, and
2     costs of suit.
3            12.       Further, Business and Professions Code section 17203 provides that
4     any person who engages in unfair competition may be enjoined in any court of
5     competent jurisdiction. Business and Professions Code section 17204 provides that
6     any person who has suffered actual injury and has lost money or property as a result
7     of the unfair competition may bring an action in a court of competent jurisdiction.
8            13.       During all, or a portion of the Class Period, Plaintiff and each member
9     of the Plaintiff Class were employed by the Defendant and each of them, in the State
10    of California. Plaintiff and each of the Plaintiff Class members were non-exempt
11    employees covered under one or more Industrial Welfare Commission (IWC) Wage
12    Orders, and Labor Code section 510, and/or other applicable wage orders,
13    regulations and statutes, and each Plaintiff Class member was not subject to an
14    exemption for executive, administrative and professional employees, which
15    imposed obligations on the part of the Defendant to pay Plaintiff and Plaintiff Class
16    members lawful overtime compensation.
17           14.       During the Class Period, Defendant was obligated to pay Plaintiff and
18    Plaintiff Class members for all hours worked.
19           15.       During the Class Period, Defendant was obligated to provide Plaintiff
20    and Plaintiff Class with a work free meal and/or rest period(s).
21           16.       During the Class Period, Defendant, and each of them failed and/or
22    refused to schedule Plaintiff and Plaintiff Class in an overlapping manner so as to
23    reasonably provide meal and/or rest breaks and/or shift relief for Plaintiff and
24    Plaintiff Class, thereby causing members of the Plaintiff Class to work without
25    being given paid ten (10) minute rest periods for every four (4) hours or major
26    fraction thereof worked and without being given a thirty (30) minute meal period
27    for shifts of at least five (5) hours and second thirty (30) minute meal periods for
28    shifts of at least ten (10) hours during which Plaintiff Class were relieved of all

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1     duties and free to leave the premises. Defendants further failed and/or refused to
2     schedule Plaintiff and Plaintiff Class in an overlapping manner so as to reasonably
3     ensure meal and/or rest breaks were taken within the required statutory time frame
4     as required by law. Furthermore, Defendant failed and/or refused to pay any
5     Plaintiff Class one (1) hour’s pay at the employees’ regular rate of pay as premium
6     compensation for failure to provide rest and/or meal periods or to providing such
7     rest and/or meal periods within the statutory time frame as a result of their
8     scheduling policy.
9           17.    During the Class Period, Defendant was obligated to pay Plaintiff and
10    Plaintiff Class members overtime compensation for all hours worked over eight (8)
11    hours of work in one (1) day or forty (40) hours in one (1) week, and double-time
12    for hours worked in excess of twelve (12) hours in one day.
13          18.    Plaintiff and each Plaintiff Class member primarily performed non-
14    exempt work in excess of the maximum regular rate hours set by the IWC in the
15    applicable Wage Orders, regulations or statutes, and therefore entitled the Plaintiff
16    and Plaintiff Class members to overtime compensation at time and a half rate, and
17    when applicable, double time rates as set forth by the applicable Wage Orders,
18    regulations and/or statutes.
19          19.    Plaintiff Class members who ended their employment during the Class
20    Period, but were not paid the above due compensation for all hours worked,
21    overtime compensation timely upon the termination of their employment as
22    required by Labor Code sections 201, 202, and 203, and is entitled to penalties as
23    provided by Labor Code section 203.
24          20.    During the Class Period, the Defendant and each of them, required the
25    Plaintiff and Plaintiff Class members to work off the clock as well as overtime
26    without lawful compensation, in violation of the various applicable Wage Orders,
27    regulations and statutes, and the Defendant: (1) willfully failed and refused, and
28    continue to fail and refuse to pay compensation for all hours worked, lawful

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1     overtime compensation to the Plaintiff Class members; and (2) willfully failed and
2     refused, and continue to fail and refuse to pay due and owing wages promptly upon
3     termination of employment to Plaintiff and certain Plaintiff Class members.
4                                  CLASS ALLEGATIONS
5           21.    Plaintiff brings claims on behalf of the California Class. Plaintiff and
6     the California Class are similarly situated because they have substantially similar
7     job requirements and pay provisions, and are subject to Defendant's common
8     practice, policy and/or plan of willfully and intentionally refusing to pay minimum
9     wage and overtime.
10          22.    The California Class is so numerous that joiner of all members is
11    impracticable.
12          23.    The Plaintiff Class is composed of and defined as follows: all non-
13    exempt employees, employed by or formerly employed by, Defendant in the
14    position of service rep-carrier, and related positions in the state of California, from
15    February 27, 2016, until judgment in this matter:
16                 a. All current and former California hourly non-exempt employees
17                     who work or worked for Defendant during the liability period and
18                     have been terminated or resigned, and were entitled to be paid
19                     wages owed pursuant to Labor Code section 203;
20                 b. All current and former California hourly non-exempt employees
21                     who work or worked for Defendant during the liability period and
22                     were entitled to be paid all wages owed, including but not limited
23                     to minimum wage and overtime pursuant to Labor Code sections
24                     510 and 1194;
25                 c. All current and former California hourly non-exempt employees
26                     who work or worked for Defendant during the liability period and
27                     were entitled to be provided accurate payroll record pursuant to
28                     Labor Code sections 226 and 1174;

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1                  d. All current and former California hourly non-exempt employees
2                       who work or worked for Defendant during the liability period and
3                       were entitled to be reimbursed for necessary business expenditures
4                       pursuant to Labor Code section 2802; and
5                  e. All current and former California hourly non-exempt employees
6                       who work or worked for Defendant during the liability period to be
7                       determined and who suffered injury, including lost money, as a
8                       result of Defendant’s unfair competition.
9           24.    Based on paragraphs 1-22, there is a community of interest in
10    obtaining both (1) appropriate legal and equitable relief for the common law and
11    statutory violations and other improprieties, and (2) adequate compensation for the
12    damages and injuries that Defendant’s actions have inflicted upon Plaintiffs and
13    Class members.
14          25.    Plaintiff will fairly and adequately represent and protect the interests
15    of all the various subclass members because they do not have a disabling conflict(s)
16    of interest that would be antagonistic to those of the other class members. Plaintiff
17    has retained counsel who is competent and experienced in state and federal class
18    action wage-and-hour litigation.
19          26.    This Court should permit this action to be maintained as a Class
20    Action because:
21                 a. The questions of law and fact common to the Plaintiff Class
22                      predominate over any question affecting only individual members;
23                 b. A class action is superior to any other available method for the fair
24                      and efficient adjudication of the claims of the members of the
25                      Plaintiff Class;
26                 c. The Plaintiff Class is so numerous that it is impractical to bring all
27                      member of the Plaintiff Class before the Court;
28    ///

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1                 d. Plaintiff and the other members of the Plaintiff Class will not be
2                    able to obtain effective and economic legal redress unless the action
3                    is maintained as a class action;
4                 e. There is a community of interest in obtaining appropriate legal and
5                    equitable relief for the common law and statutory violations and
6                    other improprieties, and in obtaining adequate compensation for the
7                    damages and injuries which Defendant’s actions have inflicted
8                    upon the Plaintiff Class;
9                 f. There is a community of interest in ensuring that the combined
10                   assets and available insurance of the Defendant is sufficient to
11                   adequately compensate members of the Plaintiff Class for the
12                   injuries sustained;
13                g. There is a community of interest in ensuring that the combine assets
14                   and available insurance of the Defendant is sufficient to adequately
15                   compensate members of the Class for the injuries sustained;
16                h. Without class certification, the prosecution of separate actions by
17                   individual members of the Plaintiff Class would create a risk of:
18                      (1)    Inconsistent or varying adjudications with respect to
19                             individual members of the Plaintiff Class which would
20                             establish incompatible standard of conduct for the
21                             Defendant; and/or
22                      (2)    Adjudications with respect to the individual members
23                             which would, as a practical matter, be dispositive of the
24                             interests of other members not parties to the
25                             adjudications, or would substantially impair or impede
26                             their ability to protect their interests, including but not
27                             limited to the potential for exhausting the funds available
28


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1                               from those parties who is, or may be, responsible
2                               Defendant(s); and
3                  i. Defendant has acted or refused to act on grounds generally
4                     applicable to the Class, thereby making final injunctive relief
5                     appropriate with respect to the Class as a whole.
6                               FIRST CAUSE OF ACTION
7                            FAILURE TO PAY ALL WAGES
8                (Plaintiff and Plaintiff Class Members against Defendant)
9          27.     Plaintiff and Plaintiff Class reallege and incorporate by reference, as
10   though fully set forth herein, the above paragraphs 1 through 26 as if fully alleged
11   herein.
12         28.     Plaintiff and Plaintiff Class members regularly worked over eight (8)
13   hours per day and forty (40) hours per week. Defendant failed to pay Plaintiff and
14   Plaintiff Class members overtime premium for hours worked in excess of over eight
15   (8) hours per day and forty (40) hours per week for work performed for the
16   Defendant. Defendant failed to compensate Plaintiff and Plaintiff Class for all hours
17   worked, which caused Defendant to not compensate Plaintiff and Plaintiff Class all
18   wages owed, including, minimum wage and overtime. Specifically, Defendant had
19   a policy and practice of not compensating Plaintiff and Plaintiff Class for time spent
20   driving until they reached their first location for the day. Similarly, Defendant had
21   a policy and practice of not compensating Plaintiff and Plaintiff Class for time spent
22   driving at the end of their scheduled shift, as Defendant required them to clock out
23   once finished at their last location. Plaintiff and Plaintiff Class seek overtime in an
24   amount according to proof. Pursuant to Labor Code section 510, Plaintiff seeks
25   payment of all minimum wage compensation owed, as well as under Labor Code
26   section 1194, the Plaintiff Class members seek the payment of all overtime
27   compensation which they earned and accrued four (4) years prior to filing this
28   complaint, according to proof.

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1           29.   Additionally, Plaintiff and Plaintiff Class members are entitled to
2    attorneys’ fees, costs, pursuant to Labor Code section 1194 and prejudgment
3    interest.
4                             SECOND CAUSE OF ACTION
5       FAILURE TO PROVIDE MEAL PERIODS OR COMPENSATION IN
6                                     LIEU THEREOF
7                   (Plaintiff and Plaintiff Class Member against Defendant)
8           30.   Plaintiff and Plaintiff Class reallege and incorporate by reference, as
9    though fully set forth herein, paragraphs 1 through 29 as if fully alleged herein.
10          31.   California Labor Code sections 226.7 and 512, provide that no
11   employer shall employ any person for a work period of more than five (5) hours
12   without providing a meal period of not less than thirty (30) minutes or employ any
13   person for a work period of more than ten (10) hours without a second meal period
14   of not less than thirty (30) minutes.
15          32.   California Labor Code section 226.7 provides that if an employer fails
16   to provide an employee a meal period in accordance with this section, the employer
17   shall pay the employee one (1) hour of pay at the employee’s regular rate of
18   compensation for each workday that the meal period is not provided in accordance
19   with this section.
20          33.   Defendant, and each of them, failed to schedule non-exempt
21   employees in an adequately overlapping manner so as to reasonably ensure Plaintiff
22   and Plaintiff Class could take and/or receive such meal periods within the statutory
23   timeframe. As a result, Plaintiff and Plaintiff Class were often forced to forego meal
24   periods and/or work during their meal periods.         In so doing, Defendant has
25   intentionally and improperly denied meal periods to Plaintiff and Plaintiff Class in
26   violation of Labor Code sections 226.7 and 512 and other regulations and statutes.
27          34.   At all times relevant hereto, Plaintiff and Plaintiff Class have worked
28   more than five (5) hours in a workday.

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1          35.    At varying times relevant hereto, Plaintiff and Plaintiff Class at times
2    have worked more than ten (10) hours in a workday.
3          36.    At all times relevant hereto, the Defendant, and each of them, due to
4    their failure to schedule non-exempt positions in a manner so as to reasonably
5    provide meal and/or work free meal periods as required by Labor Code sections
6    226.7 and 512.
7          37.     By virtue of the Defendant’s failure to schedule Plaintiff and Plaintiff
8    Class in such a way as to provide meal periods, and/or work free meal periods to
9    Plaintiff and Plaintiff Class thereby causing Plaintiff and Plaintiff Class to suffer,
10   and will continue to suffer, damages in the amounts which are presently unknown,
11   but which exceed the jurisdictional limits of this Court and which will be
12   ascertained according to proof at trial.
13         38.    Plaintiff individually, and on behalf of the Plaintiff Class, requests
14   recovery of meal period compensation pursuant to Labor Code section 226.7 which
15   they are owed beginning four (4) years prior to filing this Complaint as well as the
16   assessment of any statutory penalties against these Defendants, and each of them,
17   in a sum as provided by the Labor Code and/or other statutes.
18                             THIRD CAUSE OF ACTION
19   FAILURE TO PROVIDE REST PERIODS OR COMPENSATION IN LIEU
20                                        THEREOF
21                    (Plaintiff and Plaintiff Class against Defendant)
22         39.    Plaintiff and Plaintiff Class reallege and incorporate by reference, as
23   though fully set forth herein, paragraphs 1 through 38 as if fully alleged herein.
24         40.    California Labor Code section 226.7 provides that employers
25   authorize and permit all employees to take rest periods at the rate of ten (10) minutes
26   rest time per four (4) work hours.
27         41.    California Labor Code section 226.7, subdivision (b) provides that if
28   an employer fails to provide employee rest periods in accordance with this section,

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1    the employer shall pay the employee one (1) hour of pay at the employee’s regular
2    rate of compensation for each workday that the rest period is not provided.
3          42.    Defendant, and each of them, failed and or refused to implement a
4    relief system by which Plaintiff and Plaintiff Class could receive rest periods and/or
5    work free rest periods. Furthermore, due to Defendant’s relief system, Plaintiff and
6    Plaintiff Class did not receive their rest periods within the required statutory time
7    frame. By and through their actions, Defendant intentionally and improperly denied
8    rest periods to the Plaintiff sand Plaintiff Class in violation of Labor Code sections
9    226.7 and 512.
10         43.     At all times relevant hereto, Plaintiff and Plaintiff Class, have worked
11   more than four (4) hours in a workday.
12         44.    By virtue of the Defendant’s unlawful failure to provide rest periods
13   to Plaintiff and Plaintiff Class as a result of their scheduling and shift relief system,
14   Plaintiff and Plaintiff Class have suffered, and will continue to suffer, damages, in
15   amounts which are presently unknown, but which exceed the jurisdictional limits
16   of this Court and which will be ascertained according to proof at trial.
17         45.     Plaintiff, himself and on behalf of employees similarly situated,
18   request recovery of rest period compensation pursuant to Labor Code section 226.7,
19   which they are owed beginning four (4) years prior to filing this Complaint as well
20   as the assessment of any statutory penalties against Defendant, and each of them, in
21   a sum as provided by the Labor Code and/or any other statute.
22                                FOURTH CAUSE OF ACTION
23                FAILURE TO KEEP ACCURATE PAYROLL RECORDS
24                       (Plaintiff and Plaintiff Class against Defendant)
25         46.    Plaintiff and Plaintiff Class reallege and incorporate by reference, as
26   though fully set forth herein, paragraphs 1 through 45 as if fully alleged herein.
27         47.    Labor Code section 1174. subdivision (d), requires an employer to
28   keep at a central location in California or at the plant or establishment at which the

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1    employees are employed, payroll records showing the hours worked daily, and the
2    wages paid to, each employee. Plaintiff is informed, and believes that Defendant
3    willfully failed to make or keep accurate records for Plaintiffs and Plaintiff Class.
4          48.    Labor Code section 226, subdivision (a), states that, “every employer
5    shall, semimonthly or at the time of each payment of wages, furnish each of his or
6    her employees, either as a detachable part of the check, draft, or voucher paying the
7    employee’s wages, or separately when wages are paid by personal check or cash,
8    an accurate itemized statement in writing showing: (1) gross wages earned; (2) total
9    hours worked by the employee…; (4) all deductions…; (5) net wages; (6) the
10   inclusive dates of the period for which the employee is paid; (7) the name of the
11   employee and only the last four digits of his or her social security number or an
12   employee identification number other than a social security number; (8) the name
13   and address of the legal entity that is the employer…; and (9) all applicable hourly
14   rates in effect during the pay period and corresponding number of hours worked at
15   each hourly rate by the employee…”
16         49.    IWC Wage Order Number 4-2001, paragraph 7, subdivision (a),
17   requires that every employer shall keep accurate information with respect to each
18   employee, including time records showing when each employee begins and ends
19   each work period, the total daily hours worked by each employee and the total hours
20   worked in each payroll period, and applicable rates of pay. Plaintiff is informed,
21   and believes that Defendant willfully and intentionally failed to make and/or keep
22   records which accurately reflect the hours worked by Plaintiff and Plaintiff Class.
23   Specifically, Plaintiff alleges that Defendant’s records do not accurately reflect
24   where Plaintiff and Plaintiff Class were not paid for time spent driving both before
25   reaching their first location and time spent driving after leaving their last location,
26   as well as times where Plaintiff and Plaintiff Class worked during their meal and/or
27   rest breaks due to Defendant’s failure to schedule Plaintiff and Plaintiff Class in an
28   overlapping manner so as to provide them with a meal and/or rest period.

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1          50.    Plaintiff is informed, and believes that Defendant’s failure to keep
2    accurate payroll records, as described above, violated Labor Code section 1174,
3    subdivision (d), and the applicable wage order. Plaintiff and the Plaintiff Class are
4    entitled to penalties of one hundred dollars ($100.00) for the initial violation and
5    two hundred dollars ($200.00) for each subsequent violation for every pay period
6    during which these records and information was not kept by Defendant.
7          51.    An employee suffering injury as a result of a knowing and intentional
8    failure by an employer to comply with subdivision (a) is entitled to recover the
9    greater of all actual damages or fifty dollars ($50.00) for the initial pay period in
10   which a violation occurs and one hundred dollars ($100.00) per employee for each
11   violation in a subsequent pay period, not to exceed an aggregate penalty of four
12   thousand dollars ($4,000.00), and is entitled to an award of costs and reasonable
13   attorneys’ fees.
14         52.    Plaintiff is informed and believe that Defendant’s failure to keep and
15   maintain accurate records and information, as described above, were willful, and
16   Plaintiff and Plaintiff Class are entitled to a statutory penalty of five hundred
17   ($500.00) for Plaintiff and each member of Plaintiff Class pursuant to Labor Code
18   section 1174.5.
19                               FIFTH CAUSE OF ACTION
20         FAILURE TO PAY WAGES OF TERMINATED OR RESIGNED
21                                      EMPLOYEES
22                      (Plaintiff and Plaintiff Class against Defendant)
23          53. Plaintiffs and Plaintiff Class reallege and incorporate by reference, as
24   though fully set forth herein, paragraphs 1 through 52 as if fully alleged herein.
25         54.    Plaintiff and members of the Plaintiff Class who ended their
26   employment with Defendant during the Class Period, were entitled to be promptly
27   paid lawful overtime compensation and other premiums, as required by Labor Code
28   sections 201, 202, and 203. Defendant refused and/or failed to promptly compensate

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1    Plaintiff and Plaintiff Class wages owed as a result of their failure to provide meal
2    and/or rest periods as well as pay overtime compensation. Pursuant to Labor Code
3    section 203, such Plaintiff and Plaintiff Class seek the payment of penalties pursuant
4    to Labor Code section 203, according to proof.
5          55.    Accordingly, Plaintiff and Plaintiff Class are entitled to attorneys’ fees
6    and costs pursuant to Labor Code section 1194 for the underlying claims related to
7    this claim, including but not limited to the recovery of unpaid overtime.
8                               SIXTH CAUSE OF ACTION
9                 FAILURE TO INDEMNIFY FOR EXPENDITURES
10                    (Plaintiff and Plaintiff Class against Defendant)
11         56.    Plaintiff and Plaintiff Class re-allege and incorporate by reference, as
12   though fully set forth herein, paragraphs 1 through 55 of this Complaint.
13         57.    California Labor Code section 2802 states, “An employer shall
14   indemnify his or her employee for all necessary expenditures or losses incurred by
15   the employee in direct consequence of the discharge of his or her duties . . .”
16         58.    Plaintiff and the Plaintiff Class were not reimbursed by Defendant for
17   necessary expenditures as a direct consequence of the discharge of their duties.
18         59.    Defendant knowingly, willingly and intentionally attempted to offset
19   the cost of doing business on the Plaintiffs and Plaintiff Class.
20         60.    Defendant had a corporate practice and policy of requiring Plaintiff
21   and Plaintiff Class to shoulder the burden of Defendant’s cost of doing business by
22   failing to reimburse Plaintiffs and Plaintiff Class for necessary expenditures.
23         61.    Accordingly, Plaintiff and Plaintiff Class are entitled to an award of
24   “necessary expenditures or losses” in accordance with Labor Code section 2802,
25   which shall also include all reasonable costs, including, but not limited to, attorneys’
26   fees and interest.
27   ///
28   ///

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1                            SEVENTH CAUSE OF ACTION
2                            UNFAIR COMPETITION LAW
3                    (Plaintiff and Plaintiff Class against Defendant)
4          62.    Plaintiff and Plaintiff Class reallege and incorporate by reference, as
5    though fully set forth herein, paragraphs 1 through 61 as if fully alleged herein.
6          63.    Business and Professions Code section 17200 et. seq. (also referred to
7    herein as the “Unfair Business Practices Act” or “Unfair Competition Law”)
8    prohibit unfair competition in the form of any unlawful, unfair or fraudulent
9    business act or practice.
10         64.    Business and Professions Code section 17204 allows “any person who
11   has suffered injury in fact and has lost money or property as a result of such unfair
12   competition” to prosecute a civil action for violation of the Unfair Competition Law
13   (“UCL.”)
14         65.    Labor Code section 90.5, subdivision (a), states that it is the public
15   policy of California to vigorously enforce minimum labor standards in order to
16   ensure employees are not required to work under substandard and unlawful
17   conditions, and to protect employers who comply with the law from those who
18   attempt to gain competitive advantage at the expense of their workers by failing to
19   comply with minimum labor standards.
20         66.    Beginning at an exact date unknown to Plaintiff, but at least four years
21   prior to the filing of this lawsuit, Defendant has committed acts of unfair
22   competition as defined by the Unfair Business Practices Act, by engaging in the
23   unlawful, unfair and fraudulent business practices and acts described in this
24   Complaint including but not limited to violations of Labor Code sections 204, 1197,
25   1198 of the 226.7, and 512, as well as other statutes.
26         67.    The violations of these laws and regulations, as well as of the
27   fundamental California public policies protecting workers, serve as unlawful
28   predicate acts and practices for purposes of Business and Professions Code section

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1    17200 et. seq.
2           68.    The acts and practices described above constitute unfair, unlawful and
3    fraudulent Business Practices, and unfair competition, within the meaning of
4    Business and Professions Code section 17200 et. seq. Among other things, the acts
5    and practices have forced Plaintiffs and other similarly situated employees to labor
6    for many hours without receiving the meal and rest periods and overtime
7    compensation, to which they are entitled by law, while enabling Defendant to gain
8    an unfair competitive advantage over law-abiding employers and competitors.
9           69.    As a result of Defendant’s acts, Plaintiff and Plaintiff Class have
10   suffered injury in fact in being denied their statutorily entitled meal and rest periods
11   and full compensation for hours of labor. As a result of Defendant’s unlawful acts
12   of unfair competition, Plaintiff and Plaintiff Class have lost money and property in
13   the form of a loss of wages in an amount to be proven at trial.
14          70.    As a direct and proximate result of the aforementioned acts and
15   practices, Plaintiff and Plaintiff Class have suffered lost wages in an amount to be
16   proven at trial.
17          71.    Business and Professions Code section 17203 provides that a court
18   may make such orders or judgments as may be necessary to prevent the use or
19   employment by any person of any practice which constitutes unfair competition.
20   Injunctive relief is necessary and appropriate to prevent Defendants from repeating
21   their unlawful, unfair and fraudulent business acts and business practices alleged
22   above.
23          72.    Business and Professions Code section 17203 provides that the Court
24   may restore to any person in interest any money or property that may have been
25   acquired by means of such unfair competition. Plaintiff and Plaintiff Class are
26   entitled to restitution pursuant to Business and Professions Code section 17203 for
27   all wages and payments unlawfully withheld from employees, including the fair
28   value of the meal and rest periods taken away from them, during the four-year

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1    period prior to the filing of this complaint.
2          73.      Business    and     Professions   Code     section    17202     provides,
3    “Notwithstanding section 3369 of the Civil Code, specific or preventative relief
4    may be granted to enforce a penalty, forfeiture, or penal law in a case of unfair
5    competition.” Plaintiff and Plaintiff Class are entitled to enforce all applicable
6    penalty provisions of the Labor Code pursuant to Business and Professions Code
7    section 17202.
8          74.      Plaintiff’s success in this action will enforce important rights affecting
9    public interest, and in that regard, Plaintiff sues on behalf of the general public, as
10   well as himself and other similarly situated employees. Plaintiff and Plaintiff Class
11   seek and are entitled to restitution, civil penalties, declaratory and injunctive relief,
12   and all other equitable remedies owing them.
13         75.      Plaintiff herein take upon himself enforcement of these laws and
14   lawful claims. There is a financial burden involved in pursuing this action, the
15   action is seeking to vindicate a public right, and it would be against the interests of
16   justice to penalize Plaintiff by forcing him to pay attorneys’ fees from the recovery
17   in this action. Attorneys’ fees are appropriate pursuant to Code of Civil Procedure
18   section 1021.5 and otherwise.
19                                  PRAYER FOR RELIEF
20      WHEREFORE, Plaintiff and Plaintiff Class pray for judgment as follows:
21         1. For nominal damages;
22         2. For restitution of all monies due to Plaintiffs and Plaintiff Class, and
23               disgorged profits from the unlawful business practices of Defendant;
24         3. For waiting time penalties pursuant to Labor Code section 203, on behalf
25               of the terminated or resigned employees;
26         4. For penalties pursuant to Labor Code sections 226, 226, subdivision (e),
27               226.7, 512 and 1194;
28         5. For interest accrued to date;

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1          6. Injunctive relief, enjoining Defendant from engaging in the unlawful and
2             unfair business practices complained herein;
3          7. Declaratory relief, enjoining Defendant’s practices as being unlawful and
4             unfair business practices within the meaning of Business and Professions
5             Code section 17200, et seq., and declaring Defendant has unlawfully
6             treated Plaintiffs and Plaintiff Class, failed to pay all wages and overtime
7             compensation in violation of California law, failed to pay wages to former
8             employees, Plaintiff Bermejo, and other certain members of Plaintiff
9             Class, failed to provide Plaintiff and Plaintiff Class accurate itemized
10            wage statements upon payment of wages, failed to permit Plaintiffs and
11            Plaintiff Class from taking meal and/or rest periods or compensation in
12            lieu thereof and declaring the amounts of damages, penalties, equitable
13            relief, costs, and attorneys’ fees Plaintiffs and Plaintiff Class are entitled
14            to;
15         8. For costs of suit and expenses incurred herein pursuant to Labor Code
16            sections 226 and 1194;
17         9. For reasonable attorneys’ fees pursuant to Labor Code sections 226 and
18            1194; and
19         10.For all such other and further relief as the Court may deem just and proper.
20

21
     Dated: April 20, 2020                         MAHONEY LAW GROUP, APC

22

23

24
                                     By:    _____________________________
25                                          Kevin Mahoney, Esq.
26                                          Attorney for Plaintiff Jose Bermejo as an
                                            individual and on behalf of all similarly
27                                          situated employees
28


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1                             DEMAND FOR JURY TRIAL
2           Plaintiff JOSE BERMEJO hereby demands a jury trial on all issues so
3    triable.
4

5
     Dated: April 20, 2020                      MAHONEY LAW GROUP, APC

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9
                                    By:   _____________________________
                                          Kevin Mahoney, Esq.
10                                        Attorney for Plaintiffs Jose Bermejo and
11
                                          Carolyn brown as an individual and on
                                          behalf of all similarly situated employees
12

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